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                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF MAINE


MICHAEL DOYLE,                                   )
                                                 )
           Plaintiff,                            )
                                                 )
           v.                                    )        2:15-cv-00227-JAW
                                                 )
TOWN OF SCARBOROUGH, et al.,                     )
                                                 )
           Defendants                            )

                 RECOMMENDED DECISION ON PLAINTIFF’S MOTION FOR
                        EMERGENCY INJUNCTIVE RELIEF

           In this action, Plaintiff Michael Doyle, proceeding pro se, alleges that Defendant Town of

Scarborough’s “decorum” policy governing public comment at town council meetings is

overbroad and has been misapplied to him, in violation of the First Amendment.

           On June 15, 2015, the Court granted Plaintiff leave to proceed in forma pauperis. Plaintiff

has not filed a return of service. The matter is before the Court on Plaintiff’s emergency motion

for injunctive relief. (Motion for Emergency Injunctive Relief, ECF No. 6).1

           Although Plaintiff certified in his motion that he forwarded a copy of the motion to Marc

Franco, the “attorney of record” for Defendants, the record does not include the entry of

appearance by Attorney Franco, or any other attorney for Defendants. Plaintiff’s motion, therefore,

is arguably a motion for emergency injunctive relief without notice to Defendants. To obtain

emergency injunctive relief without notice to Defendants, Plaintiff must “clearly show [through

an affidavit or verified complaint] that immediate and irreparable injury, loss, or damage will result

to the movant before the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b).2 Plaintiff


1
    The Court referred the motion.
2
 Plaintiff’s Motion for Emergency Injunctive Relief is construed as a Motion for Temporary Restraining Order
pursuant to Fed. R. Civ. P. 65.
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has not asserted by affidavit, or otherwise, that he will suffer an immediate and irreparable injury

if Defendants are afforded the opportunity to be heard before the Court considers the motion.

Plaintiff thus is not entitled to emergency injunctive relief without notice to Defendants.

       Assuming, arguendo, that Plaintiff’s certification that he mailed the motion to Attorney

Franco constitutes adequate notice to Defendants, Plaintiff nevertheless is not entitled to

emergency injunctive relief. To be entitled to emergency injunctive relief, Plaintiff must show “(1)

a substantial likelihood of success on the merits, (2) a significant risk of irreparable harm if the

injunction is withheld, (3) a favorable balance of hardships, and (4) a fit (or lack of friction)

between the injunction and the public interest.” Nieves–Marquez v. Puerto Rico, 353 F.3d 108,

120 (1st Cir.2003); Hoffman v. Sec'y of State of Me., 574 F. Supp. 2d 179, 186 (D. Me. 2008).

Plaintiff has not filed any record evidence upon which the Court could make the findings necessary

to order emergency injunctive relief. Indeed, Plaintiff’s entire filing consists of the unsworn

allegations in the complaint, which allegations do not satisfy Plaintiff’s burden to prove through

record evidence that he is entitled to emergency injunctive relief.

                                             NOTICE

           A party may file objections to those specified portions of a magistrate judge’s
       report or proposed findings or recommended decisions entered pursuant to 28
       U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum and any request shall be filed
       within fourteen (14) days after the filing of the objection.

           Failure to file a timely objection shall constitute a waiver of the right to de novo
       review by the district court and to appeal the district court’s order.

                                               /s/ John C. Nivison
                                               U.S. Magistrate Judge

       Dated this 29th day of June, 2015.




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